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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 21-158 (RBW)
                                     )
KYLE FITZSIMONS,                     )
                                     )
                  Defendant.         )
____________________________________ )

                                            ORDER

       In accordance with the oral rulings issued by the Court at the status hearing held on

May 7, 2021, via teleconference, it is hereby

       ORDERED that the defendant’s Motion to Withdraw as Counsel, ECF No. 23, is

GRANTED. It is further

       ORDERED that Gregory T. Hunter and Joel Anders’s appearance as counsel of record is

TERMINATED. It is further

       ORDERED that the parties shall appear before the Court for a status hearing on

May 21, 2021, at 10:00 a.m., via teleconference by calling 1-877-873-8017 and entering the

Court’s access code (8583213) followed by the pound key (#). It is further

       ORDERED that the time from May 7, 2021, until the status hearing scheduled for

May 21, 2021, is excluded under the Speedy Trial Act, in light of the fact that the defendant has

requested that new counsel be appointed to represent him in this case.

       SO ORDERED this 10th day of May, 2021.



                                                             ________________________
                                                             REGGIE B. WALTON
                                                             United States District Judge
